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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA iB
v. CASE NO. 3:24-cr-262- BID-PDB

18 U.S.C. § 1704
TERRY GENE LEU

INFORMATION

The United States Attorney for the Middle District of Florida charges:

COUNT ONE
(Possession of Forged or Counterfeit Post Office Keys)

On August 25, 2021, in the Middle District of Florida, the Defendant,
TERRY GENE LEU
did knowingly possess unlawfully made, forged, and counterfeited keys suited to

locks adopted by the United States Post Office on authorized receptacles for the
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deposit and delivery of mail matter, with the intent to use, sell, and otherwise dispose
of said keys unlawfully and improperly,

In violation of 18 U.S.C. § 1704.

ROGER B. HANDBERG
United States Attorney

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Assistant United States Attorney

—FRANK TALBOT
Assistant United States Attorney
Chief, Jacksonville Division

